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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


  Joseph Whiting, D-20,
                                                        Case No. 06-20465
           Petitioner,
                                                        Honorable Nancy G. Edmunds
  v.

  United States of America,

           Respondent.
                                           /

          ORDER GRANTING PETITIONER’S MOTION FOR CERTIFICATE OF
                          APPEALABILITY [2729]

       This matter comes before the Court on Petitioner Joseph Whiting’s motion for

  certificate of appealability under 28 U.S.C. § 2253. The Court granted in part and denied

  in part Petitioner’s motion to vacate his sentence pursuant to 28 U.S.C. § 2255 on August

  27, 2015. In the event Petitioner files a timely notice of appeal and a request for a

  certificate of appealability pursuant to 28 U.S.C. § 2253 and Fed. R. App. P. 22(b), section

  2253 requires a habeas petitioner to seek a certificate of appealability from this Court.

       The Court may issue a certificate of appealability if the petitioner has made a

  substantial showing of the denial of a constitutional right. 28 U.S.C. § 2253(c)(2).

         [T]he petitioner need not show that he should prevail on the merits. He has
         already failed in that endeavor. Rather, he must demonstrate that the issues
         are debatable among jurists of reason; that a court could resolve the issues
         [in a different manner] or that the questions are “adequate to deserve
         encouragement to proceed further.”

  Barefoot v. Estelle, 463 U.S. 880, 893 n.4 (1983); Hence v. Smith, 49 F.Supp.2d 547, 549

  (E.D. Mich. 1999).
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       Petitioner seeks certificate of appealability on two of the issues raised previously

  pursuant to 28 U.S.C. § 2255: ineffective assistance of counsel for failure to raise

  Petitioner’s Brady claim on direct appeal and ineffective assistance of counsel for failure

  to raise Petitioner’s Apprendi claim on direct appeal.

       As to the first issue, the Court previously denied Petitioner’s motion to vacate his

  sentence pursuant to his Brady claim. This Court finds that Petitioner has made a

  substantial showing with respect to this issue—that the issue is debatable among jurists

  of reason; that a court could resolve the issue in a different manner; or that the question

  is adequate to deserve encouragement to proceed further.

       As to the second issue, in his amended § 2255 motion, Petitioner argued that the

  sentence being served was in violation of Due Process pursuant to Apprendi v. New

  Jersey, 530 U.S. 466 (2000). The Court granted Petitioner’s motion based on his Apprendi

  claim and resentenced him on one count (Count 13). The Court finds that Petitioner has

  made a substantial showing of the denial of a constitutional right with respect to whether

  Petitioner’s Apprendi claim calls for resentencing only on Count 13. With respect to this

  issue, Petitioner has shown that the issue is debatable among jurists of reason, that a court

  could resolve the issue in a different manner, or that the question is adequate to deserve

  encouragement to proceed further.

       Being fully advised in the premises and having read the pleadings, the Court hereby

  GRANTS Petitioner’s request for a certificate of appealability as to the two issues outlined

  above.

       SO ORDERED.



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                      S/Nancy G. Edmunds
                      Nancy G. Edmunds
                      United States District Judge

  Dated: October 7, 2015

  I hereby certify that a copy of the foregoing document was served upon counsel of record
  on October 7, 2015, by electronic and/or ordinary mail.

                      S/Carol J. Bethel
                      Case Manager




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